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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


             NOTICE REGARDING LOCAL CIVIL RULE 54.7
                 Payment of Fees in Seaman and Pauper Cases
Local Civil Rule 54.7 provides:
       In all actions in which the fees of the marshal and the clerk are not
       required by law to be paid in advance and in which a seaman or
       party proceeding in forma pauperis prevails, either by judgment or
       settlement, all fees of the marshal and clerk must be paid before
       dismissal or satisfaction of judgment may be filed, unless
       otherwise ordered by the court. Counsel handling the payment of
       any settlement must confirm that all fees are paid, whether or not
       any dismissal or satisfaction of judgment entry is applied for.
       [Amended February 1, 2011].


       In accordance with Local Civil Rule 54.7, any ex parte motion to

dismiss a case, notice of dismissal, stipulation of dismissal, satisfaction of

judgment, or similar ex parte or unopposed motion, filed in a seaman case

or in a case in which a party has been allowed to proceed in forma

pauperis must specifically confirm that the fees of the clerk and the

marshal have been paid. In addition, prior to requesting that the court

enter an order of dismissal in a case in which fees have not been prepaid,

but the parties have reached a settlement, counsel must confirm that all

fees of the clerk and marshal have been paid.

                       BY DIRECTION OF THE COURT

                       CAROL L. MICHEL, CLERK OF COURT
